Case 8:13-cr-00168-RGK Document 1254 Filed 02/10/22 Page 1 of 2 Page ID #:7710



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  4                                                       FEB i U 2022
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                                                   CENTFiHL'u''fKfCT uF CAL~rt:~NlA
                                                   BY .--~...~/             D~?UTY
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  7
  s                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11     'V
         . ITED STATES OF AMERICA,                 Case No.: $-13-CR -Olb~ - R(31<-?~C7
 12                            Plaintiff,         ORDER OF DETENTION AFTER
                                                  HEARING
 13                vs.                            [Fed. R. Crim. P. 32.1(a)(6); 18 U.S.C.
                                                   § 3143(a)]
 14     Ar~thar~ I"la~r~stc
 15 ~                          Defendant.
 16
 17         The defendant having been arrested in this District pursuant to a warrant issued
 18     y the United States District Court for the ~~ya\ p~ b~ , ~~.                           ,
 19 or alleged violations) ofthe terms and conditions o~/herfir}[supervised
 20 elease]; and
 21         The Court having conducted a detention hearing pursuant to Federal Rule of
 22     riminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
 23         The Court finds that:
 24             The defendant has not met his/her burden of establishing by clear and
 25         convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
 26         3142(b)or (c). This finding is based on lir~,►~~ 1~,Q~1 ~c so~rccs
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Case 8:13-cr-00168-RGK Document 1254 Filed 02/10/22 Page 2 of 2 Page ID #:7711



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  3       and/or
  4       J~The defendant has not met his/her burden of establishing by clear and
  5       convincing evidence that he/she is not likely to pose a danger to the safety of any
  6       other person or the community if released under 18 U.S.C. § 3142(b)or (c). This
  7       finding is based on   o,~,00;,~Q ~h,~ ~s~         anoY ~o~~c~
  8         5i.ir.~~rv~s:o,n

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 13       IT TI~REFORE IS ORDERED that the defendant be detained pending further
 14     cation proceedings.
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 16    TED:
                                          KAREN SCOTT
 17                                       UNITED STATES MAGISTRATE JUDGE
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